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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

UNITED STATES OF AMERICA,
Plaintiff,

TAYLOR ASHLEY PARKER-DIPEPPE,
Defendant.

 

 

 

 

NO. CR20-032 JCC

ORDER CONTINUING
CONDITIONS OF RELEASE
SUPERSEDING INDICTMENT

A Superseding Indictment having been returned against the above-named defendant,

now therefore

IT IS ORDERED that conditions of release be continued as previously set.

DATED this Sth day of August, 2020.

hore Devt

UNITED STATES MAGISTRATE JUDGE

ORDER CONTINUING CONDITIONS OF RELEASE — 1

SUPERSEDING INDICTMENT

UNITED STATES ATTORNEY
700 Stewart Street, Suite 5220
Seattle, Washington 98101
(206) 553-7970
